

People v Walker (2022 NY Slip Op 04104)





People v Walker


2022 NY Slip Op 04104


Decided on June 23, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 23, 2022

Before: Renwick, J.P., Kern, Kennedy, Mendez, Higgitt, JJ. 


Ind No. 3564N/15 Appeal No. 16182 Case No. 2018-1476 

[*1]The People of the State of New York, Respondent,
vMichael Walker, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Natalie Rea of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Faith DiTrolio of counsel), for respondent.



Judgment, Supreme Court, New York County (Arlene D. Goldberg, J. at suppression hearing; Abraham L. Clott, J. at plea and sentencing), rendered October 5, 2016, convicting defendant, upon his plea of guilty, of attempted criminal possession of a controlled substance in the third degree, and sentencing him, as a second felony drug offender, to a term of 1½ years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US &amp;mdash, 140 S Ct 2634 [2020]). The plea court's colloquy with defendant, taken together with the written appeal waiver defendant signed in court after consulting with counsel, established a knowing, intelligent and voluntary waiver. Any court suggestion that the waiver foreclosed all possible challenges to the conviction was corrected by the written waiver, which clarified that appellate review remained available for selected issues (id. at 566).
This waiver forecloses review of defendant's suppression claims. In any event, we find those claims unavailing.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 23, 2022








